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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAI`I



  MICHAEL MAEDA and RICK
  SMITH, individually and on behalf
  of all others similarly situated,


                       Plaintiffs,
                                        CIVIL No. 18-00459 JAO-WRP
  v.

  KENNEDY ENDEAVORS, INC., a
  corporation; and DOES 1 through
  50,
                      Defendants.




                EXPERT REPORT OF SARAH BUTLER
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                      EXPERT REPORT OF SARAH BUTLER
                                         In connection with
                               Maeda v. Kennedy Endeavors, Inc.
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     I.        QUALIFICATIONS
          1.     I am over 21 years of age and have personal knowledge of and am competent to

  testify to the facts set forth herein. I am a Managing Director at NERA Economic Consulting

  (“NERA”), where I am the Chair of the Survey and Sampling Practice and a member of the

  Intellectual Property, Product Liability, Antitrust, and Labor Practices. My business address is 4

  Embarcadero Center, San Francisco, CA 94111. NERA is a firm providing expert statistical,

  survey, economic, and financial research analysis.

          2.     Among my responsibilities, I conduct survey research, market analysis, and

 design and implement statistical samples for analysis on a wide range of topics regarding business

 and consumer decision making, consumer choice, and consumer behavior. In the course of my

 career, I have conducted research for leading corporations and government agencies on

 consumers, employees, and businesses. My work has been included in numerous lawsuits

 involving issues of false and misleading advertising, trademark and trade dress confusion, and

 secondary meaning, as well as in antitrust and employment-related litigation. I am a member of

 the American Association of Public Opinion Research, the American Statistical Association, the

 Intellectual Property Section of the American Bar Association, and the International Trademark

 Association (INTA).

          3.     I have also worked as a market researcher conducting surveys, in-depth

 interviews, and focus groups of consumers and professionals. I have worked as an independent

 consultant conducting research for the Department of Environment and Rural Affairs in the

 United Kingdom. I have taught courses focused on or involving research methodologies in both

 the United States and Europe. I hold a Master’s Degree from Trinity College, Dublin and another

 Master’s Degree from Temple University.
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             4.        I have substantial experience conducting and using surveys to measure consumer

 opinions and behaviors regarding products and services including purchase processes, product

 attributes, branding and positioning, market segmentation, new product research, and

 communications strategies. During my career in academic and commercial research, I have

 personally facilitated a wide range of research including focus groups, in-depth interviews, and

 large-scale surveys.

             5.         I have submitted expert reports, been deposed, and testified at trial within the last

 five years. A list of my testimony is included on the copy of my current resume, which is attached

 as Exhibit A.

               6.      NERA is being compensated for my services in this matter at my standard rate of

  $700 per hour. Members of the staff at NERA have worked at my direction and under my

  supervision to assist me in this engagement. No part of my compensation or NERA’s

  compensation depends on the outcome of this litigation. Throughout this report, I have used the

  terms “I” and “my” to refer to work performed by me and/or others under my direction and

  under my supervision.


         II.        DOCUMENTS REVIEWED
               7.      As part of my work, I reviewed the operative Complaint1 and the expert report of

  Dr. J. Michael Dennis.2 A list of the specific materials I reviewed can be found in Exhibit B.




  1   Second Amended Class Action Complaint, Michael Maeda & Rick Smith v. Kennedy Endeavors, Inc., United States District
      Court for the District of Hawai’i, Case No. 18-00459 JAO-WRP, dated July 17, 2019 (hereinafter, “Complaint”).
  2   Declaration and Expert Report of J. Michael Dennis, Ph.D., dated November 28, 2020 (hereinafter, “Dennis Report”).

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         III. ASSIGNMENT AND SUMMARY OF OPINIONS
              8.       I was asked by counsel for Defendant, Kennedy Endeavors, to review the survey

  and report submitted by Dr. J. Michael Dennis. Dr. Dennis asserts that he was asked by

  Plaintiffs’ counsel to, “understand the Products’ packaging to communicate that the Products are

  made in the state of Hawaii,” and to, “measure the extent to which (if any) the Products’

  packaging is material to the purchasing decisions of consumers by communicating that the

  Products are made in the state of Hawaii.”3

              9.       As part of my review and response to Dr. Dennis’ survey, I designed and

  conducted a survey. My rebuttal survey corrects some of the most egregious flaws in Dr. Dennis’

  survey and provides unbiased results that demonstrate that manufacturing location is not seen as

  an important characteristic for consumers when considering which chips to purchase. Moreover,

  my rebuttal survey demonstrates that consumer purchasers are not influenced by a belief that the

  product is made in Hawaii, as my survey data yields no difference in preferences for the chips as

  labeled during the class period compared to chips labeled “Not a Product of Hawaii.” More

  specifically, based on my review of Dennis’ survey and my rebuttal data, I conclude the

  following:

             Dr. Dennis’ survey does not accurately or reliably measure consumer perceptions as to

              the source of the product. His question asking: “Based on the product label we just

              showed you, where do you think the product was made?” is biased because (1) it limits

              respondent answer to only information that can be read on the front label of the product

              packaging and (2) compares the at-issue product with a geographic term in the product



  3   Dennis Report, ¶16.

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        name with only products without geographic themes or brand names. Accordingly, Dr.

        Dennis’ question is nothing more than a reading comprehension exercise in which

        respondents are instructed to guess “where a product was made” based on the font of the

        product packaging (while simultaneously denying respondents access to the rear panel of

        the packaging which discloses the name and address of the producer). The question is

        further biased because it assumes consumers think about origin only in terms of a U.S.

        state.

       Dr. Dennis’ “where” question is further biased in that it does not allow for multiple state

        responses, does not allow for any other location-type answers, and only provides a “don’t

        know” answer if the respondent scrolls to the bottom of a list.

       Dr. Dennis also creates a biased stimulus that does not reflect the actual package and

        information a consumer could see in the real world. In his survey, respondents can only

        see the front of the package and are specifically prohibited from viewing the back of the

        package which clearly displays the product is made in Washington. I correctly allow

        consumers to look at both sides of the packaging in my revised survey.

       Dr. Dennis does not include any type of control is his survey and thus he has no way to

        measure the extent to which his biased question, response categories, and stimulus have

        affected his overall results. While his survey includes two other chip products, neither of

        these products make any reference to a place or a location and therefore, it is hardly

        surprising that respondents’ answers are dispersed across a number of locations. When a

        proper control is included, such as the one included in my revised survey, it is obvious

        that consumers are not preferring the product because they believe it is made in Hawaii.



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             Dr. Dennis’ “referendum” question is also biased because his respondents cannot indicate

              that they view the products he presents equivalently or that they would not care or

              distinguish based on location. My survey results demonstrate that consumers do not think

              manufacturing location is important and my revised referendum survey allows

              respondents to indicate that they would not purchase either product shown, or indicate

              that they do not know.

              10.       My results demonstrate manufacturing location is not important to consumers

  when considering what brand of kettle-style chips to purchase and there is no difference in

  purchase intent between the at-issue product label and the same product specifically labeled “Not

  a Product of Hawaii.” My results demonstrate that when consumers are presented with an

  unbiased set of questions which more realistically represent marketplace conditions, beliefs that

  the product is made in Hawaii are not influencing consumer purchase intent.


         IV. BACKGROUND
             11.        I understand that Plaintiffs allege that Defendant Kennedy misleads consumers

 into believing that its chips are made in Hawaii from, “local ingredients.”4 Specifically, Plaintiffs

 allege that they believed the chips were made in Hawaii and, “had Plaintiffs and other consumers

 known that the Hawaiian Snacks are not made in Hawaii, they would not have purchased them or

 would have paid significantly less for them.”5

             12.        Plaintiff Maeda is a resident of Honolulu and allegedly purchased Hawaiian

 Kettle Style Chips in 2017 and 2018 in Hawaii and California.6 Mr. Maeda asserts that he saw and


  4   Complaint, ¶2.
  5   Complaint, ¶5.
  6   Complaint, ¶12.

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 relied on the labeling of the product and believed he was purchasing “authentic” chips from

 Hawaii.7 Mr. Smith also purchased Hawaiian Kettle Style Chips in 2017 and 2018 and allegedly

 relied on the package labeling, believing the snacks were made in Hawaii.8 Both Plaintiffs allege

 that had they known the chips were made in Washington, not Hawaii, they would not have

 purchased the products or would have paid less.9

             13.           Tim’s Cascade Snacks is a Washington State-based potato chip company founded

 in 1986 and owned by Defendant Kennedy Endeavors, Inc., a New Jersey corporation with its

 principal place of business in the State of Washington.10 In 1989, Kennedy was purchased by

 Curtice Burnes Foods which eventually became Birds Eye Foods.11 Birds Eye Foods (including

 Tim’s/Kennedy) was purchased by Pinnacle in 2009.12 When this lawsuit was filed, Kennedy

 Endeavors, Inc. was a wholly-owned subsidiary of Pinnacle Foods. As of October 26, 2018,

 Pinnacle Foods became a wholly-owned subsidiary of Conagra Brands, Inc., a publicly traded

 Delaware corporation.13 As part of Conagra’s acquisition of Pinnacle Foods, Pinnacle Foods

 merged into Peak Finance Holdings. Pinnacle Foods, Inc. is no longer an existing business entity.

 In 2019, Kennedy Endeavors (which continues to operate Tim’s Cascade Snacks and produce the

 Hawaiian Brand) was sold to Utz Quality Foods, Inc.14



  7   Complaint, ¶13.
  8   Complaint, ¶¶14, 15.
  9   Complaint, ¶¶13, 15.
  10   Declaration of Terri Barberi in support of Response Brief in Opposition to Plaintiffs’ Motion for Class Certification (Dkt. 96),
         February 18, 2021 (hereinafter, “Declaration”), ¶8.
  11   Declaration, ¶11.
  12   Declaration, ¶15.
  13   Complaint, ¶16; Conagra News Release, “Conagra Brands Completes Acquisition of Pinnacle Foods,”
         https://www.conagrabrands.com/news-room/news-conagra-brands-completes-acquisition-of-pinnacle-foods-prn-122653,
         October 26, 2018.
  14   Declaration, ¶¶17, 18.

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             14.        I further understand that the Granny Goose Chip Company, Inc. originally

 produced the Hawaiian Brand kettle potato chips in Hawaii.15 In approximately the late 1990s,

 Birds Eye Foods, then the parent company of Defendant and Tim’s Cascade Snacks, purchased

 the Hawaiian Brand from Granny Goose and transitioned production to Tim’s Cascade Snacks.16

             15.        To address its claims that consumers were misled and paid more for products than

 they otherwise would, Plaintiffs submitted a report from J. Michael Dennis.

         V.        SUMMARY OF DENNIS SURVEY
             16.        Dr. Dennis indicates that his assignment was to: (1) determine whether the product

 packaging communicates that the chips are made in Hawaii; and, (2) determine whether this alleged

 communication is material to consumers.17

             17.        Dr. Dennis surveyed a total of 863 consumers over the age of 18 (200 in Hawaii and

 663 in California) who had purchased kettle-style chips in the last two years. Respondents qualified

 for Dr. Dennis’ survey if they had purchased Hawaiian, Lay’s, Utz, Kettle Brand, Deep River, and/or

 Cape Cod kettle-style chips.18

             18.        Once qualified for the survey, respondents were shown the front packaging of

 three bags of chip brands: the Hawaiian brand,19 as well as the Utz and Kettle brands.20 An

 example is shown below in Figure 1.




  15   Defendant’s Motion to Dismiss Plaintiff’s Second Amended Class Action Complaint Filed on July 17, 2019; Memorandum of
         Points and Authorities; Declaration of David J. Minkin; Exhibit A; Certificate of Compliance; Certificate of Service, CIVIL
         NO. 18-00459 JAO-WRP, filed July 31, 2019, p. 1.
  16   Declaration, ¶¶7, 12-13.
  17   Dennis Report, ¶16.
  18   Dennis Report, ¶21 and Attachment C.
  19   Dr. Dennis tested three products: Luau BBQ, Maui Onion, and Original. Dennis Report, ¶21.
  20   Dennis Report, ¶36.

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                    Figure 1: Example of Bags Shown to Dennis Survey Respondents 21




             19.        After the viewing the front of each chip bag, respondents were then asked to

 indicate, based on the front product label, where the product was made. To answer this question,

 respondents were provided with a drop-down menu listing U.S. states and the capital. At the

 bottom of this drop-down menu, below “Wyoming,” the answer choices, “Not in USA” and

 “Can’t say” were included. Other than a specific U.S. state and these two additional options, no

 other answer choices were permitted.

             20.        Next, respondents were told that they would be shown two chips and would be

 asked to indicate which they would purchase. As shown below in Figure 2, respondents were told

 the chips would be the same and were shown the front of the package.




  21   The images of each respective bag in Figure 1 were shown on separate pages. Dennis Report, Attachment D, pp. 37-39.

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                       Figure 2: Introduction to Dennis Purchase Question




         21.     After viewing the front of the package, Dr. Dennis’ respondents were then asked

 to compare the same chips with one described as “made in the state of Washington,” and one

 described as “made in the state of Hawaii.” Respondents were shown the comparison below in

 Figure 3 and were asked to select which product they would purchase. Respondents needed to

 indicate they would purchase one of the products or could indicate that they did not know –

 respondents could not indicate that they were indifferent – i.e. there was no way to indicate both

 or neither.




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                                    Figure 3: Dennis Purchase Question




             22.       Respondents were asked to confirm their purchase selection, and then the survey

 was complete.

             23.       Based on this survey design, Dr. Dennis concludes that “reasonable consumers in

 both California and Hawaii understood the Products’ packaging to mean that the Products are

 made in Hawaii,”22 and that, “Defendant’s packaging, with respect to communicating that the




  22   Dennis Report, ¶22.

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 Products are made in Hawaii, was material to the purchasing decisions of reasonable

 consumers.”23

             24.        Dr. Dennis’ survey is biased, does not replicate marketplace conditions, and

 provides no actual evidence as to the materiality, if any, associated with the brand of chips being

 made in Washington, rather than Hawaii. My rebuttal survey which corrects many of the flaws

 and biases of Dr. Dennis’ survey demonstrates the manufacturing origin and purported beliefs that

 the product is from Hawaii do not impact consumers’ interest and willingness to purchase the

 Hawaiian kettle-style chips.

         VI. DENNIS SURVEY IS BIASED
             25.        As designed, Dr. Dennis’ survey is biased and is his results are predicated on

 numerous assumptions as to what features or characteristics consumers consider when purchasing

 products such as potato chips.

  A.          Dennis “Where” Question is Biased
             26.        First, Dr. Dennis assumes that consumers consider and evaluate where products

 like potato chips are made. Dr. Dennis’ survey does not ask open-ended questions or filter

 questions to evaluate what consumers perceive in their own words and he does not ask consumers

 to evaluate a range of features that could potentially impact their purchasing behaviors. And,

 although Dr. Dennis purportedly conducted “probing” “cognitive interviews” with eight subjects

 to test his survey, he did not record or take any notes from those interviews, nor did he retain

 those eight subjects’ survey responses.24 As a result, the record is devoid of any documentation



  23   Dennis Report, ¶23.
  24   Deposition of J. Michael Dennis, dated December 30, 2020, (hereinafter “Dennis Deposition”), 84:24-87:16. As described
         below, I conducted a pre-test with ten participants and produce the moderator script and the interview transcripts.

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 that Dr. Dennis’ survey respondents understood his questions, and there is no information that any

 of his participants felt his question about manufacturing origin was relevant or complete.

             27.       In contrast to Dr. Dennis’ limited and biased questioning about manufacturing

 origin, there is substantial evidence demonstrating that other factors influence purchasing

 behavior. For example, Plaintiff Maeda agreed in his deposition that there are a number of reasons

 that motivate consumers to purchase potato chips. He concluded that without asking other

 consumers why they purchase specific kinds of chips, it is impossible to know the motivating

 factors that exist.25 When further asked what aspects of a chip motivate him to purchase, he cited

 flavor, texture, and thickness of the chip being his top “motivating factors.”26 Later, when directly

 asked if there were any other variables that were important to him when purchasing potato chips,

 he explicitly stated that there were not.27 My own survey data indicate that characteristics such as

 price, flavor, brand, and package size are those seen as important by consumers considering

 which kettle-style chips to purchase; manufacturing location is rated the least important feature by

 a large majority of respondents.

             28.       Dr. Dennis incorrectly assumes that the manufacturing location is a relevant

 product characteristic for consumers of kettle-style chips. He further compounds this bias by

 providing answer choices which assume the respondent conceptualized “where” the product was

 made as a U.S. state. Even assuming respondents viewed the front label (Dr. Dennis does not

 allow consumers to view the back of the package) as conveying some specific information about

 manufacturing location, there is no reason to assume that the “where” necessarily equates to a



  25   Deposition of Michael Maeda, dated August 3, 2020 (hereinafter “Maeda Deposition”), 80:7-83:4.
  26   Maeda Deposition, 84:3-15.
  27   Maeda Deposition, 85:10-14.

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 U.S. state. By limiting responses in this way, Dr. Dennis signals that the only acceptable answer

 to “where” the product is made is a U.S. state. Therefore, Dr. Dennis’ questionnaire simply

 encourages respondents to guess whatever state seems most reasonable. Such guessing does not

 indicate that a respondent believes the product is actually made in Hawaii, but rather demonstrates

 that in response to a close-ended question, with a limited set of answers, individuals can read the

 package and understand what answer the researcher is looking for them to provide. A close-ended

 question with biased response options which do not reflect the full range of possible answers

 cannot provide any reliable information as to how the label is actually perceived by relevant

 consumers.

        29.      The state-based drop-down box is further problematic in that there is no way a

 respondent would know that she can provide a “Can’t say” response unless she scrolls all the way

 down in the listing to “North Dakota.” As shown below in Figure 4, Dr. Dennis’ question does

 not indicate that respondents can say they don’t know or indicate that they have no opinion, and

 the “Can’t say” option is only visible when the drop-down menu is scrolled down to “North

 Dakota” and the states at the end of the alphabet.




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                       Figure 4: Dennis Location Question and Drop-Down




        30.      Dr. Dennis’ drop-down box is further faulty as this format assumes that all

 respondents, even when limited to U.S. states, would only pick a single location. Of course, it is

 possible that respondents may believe the product is made in multiple locations or may believe

 that the product was originally made in Hawaii, but now is made in another place or places. There

 is no way to determine, given Dr. Dennis’ questionnaire, what share of his respondents were




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 simply guessing, what share might have offered more than one location, or what share might have

 said don’t know or no opinion had they been asked an unbiased question.

             31.        Dr. Dennis’ phrasing of this questions renders bias particularly likely with regard

 to the Hawaiian Brand chips. As discussed above, the Hawaiian Brand chips were originally made

 in Hawaii by the Granny Goose Chip company. Granny Goose then made the Hawaiian Brand in

 California before selling the Hawaiian Brand to Birds Eye which began producing it at the Tim’s

 Cascade Snacks facility in Algona, Washington.28 By phrasing the questions vaguely and in the

 past tense – “where do you think the product was made”29 (emphasis added) – it is unclear to the

 respondent whether Dr. Dennis is enquiring about the current physical manufacturing location of

 the product or the historical Hawaiian origin of the product line. This is particularly problematic

 when surveying consumers from Hawaii, a subset of whom are almost certainly aware of the

 Hawaiian Brand’s legitimate Hawaiian heritage and likely answered the question based on that

 knowledge. In short, given the lack of clarity in the question presented, Dr. Dennis’ data is

 meaningless.

  B.          Dennis Stimuli Images are Biased
             32.        Dr. Dennis asserts that his survey was designed to determine whether consumers,

 “understand the Products’ packaging to communicate that the Products are made in the state of

 Hawaii.”30 But Dr. Dennis does not test the entirety of packaging and only allows respondents to

 see the front of the package. In other words, even if Dr. Dennis’ survey was reliable in other ways




  28   Declaration, ¶¶7-8, 13.
  29   Dennis Report, ¶46.
  30   Dennis Report, ¶16.

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 (which it is not), it cannot be used to determine what impressions consumers would actually have

 of Defendant’s products and product labeling in the real world.

             33.        Only providing respondents in a survey with a limited portion of the stimulus,

 particularly when the omitted portion could change the results, is grounds for the survey to be

 excluded. As explained by one author,

              Whether characterized as the display of an improper stimulus or as the failure to
              replicate marketplace conditions, a false advertising survey that showed survey
              respondents only part of the product in question led one court to find that the survey
              “sheds no light” on the question at issue.31

             34.        In this particular matter, Dr. Dennis does not allow respondents to view the back

 of the packaging, which clearly includes the place where the chips are made. A fair representation

 of the product would have included all information available to a consumer when actually

 purchasing the product in the store.32 An example of the front and back of the packaging is shown

 below in Figure 5. In my rebuttal survey, I provided respondents with both the front and back

 sides of the packaging.




  31   Edwards, G. K. (2012). The Daubert Revolution and Lanham Act Surveys. In Diamond, S. S., & Swann, J. B. (Eds.),
         Trademark and Deceptive Advertising Surveys: Law, Science, and Design. American Bar Association, Section of
         Intellectual Property Law, p. 347.
  32   Products purchased online also often show the front and back of package and include information as to where the potatoes are
         grown, or where the product is manufactured. https://www.amazon.com/Hawaiian-Kettle-Style-Potato-
         Original/dp/B00FUAZI4S.

                                                                                                                                 17
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             Figure 5: Example of Front and Back Side of Product Packaging




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                                                                           19
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             35.        The importance of fairly representing the product packaging is particularly true in

 this matter. In fact, both Mr. Maeda and Mr. Smith, the named Plaintiffs and putative class

 representatives in this lawsuit, have admitted that it is “common knowledge” that consumers can

 turn to the back of a food label to identify the manufacturing location of a product.33 Thus, by

 denying survey respondents access to the rear panel – which clearly identifies the Algona,

 Washington manufacturing facility for the products-at-issue – Dr. Dennis’ survey deprives

 respondents of critical information that would have been available to them in an actual grocery

 shopping scenario.

             36.        Indeed, it appears Dr. Dennis recognized the significance of the rear panel when

 designing his study. Dr. Dennis testified that he utilized Emily Bishop at South Yard, a third-party

 graphic designer, to help make the Hawaiian Brand images used in his survey “more visually

 attractive to the respondents.”34 Notably, an October 14, 2020 email from Dr. Dennis to

 Ms. Bishop states, in relevant part: “The task is to create back panel images for the three

 [Hawaiian] chips products from the three PDFs that I sent you.”35 The next day, Ms. Bishop

 emailed Dr. Dennis images of the Maui Onion flavored chips, and Dr. Dennis responded, “For

 just the curved FRONT and curved BACK, can you set the background to white (instead of the

 off white/gray [i]t is now) … Charge me for the work!! The pics look awesome!!!”36 Thus,

 Dr. Dennis instructed his designer to create rear images of the subject products and received those

 images, but did not include these images as part of his survey.


  33   Deposition of Rick Smith, dated August 4, 2020, (hereinafter “Smith Deposition”), 130:15-21; Maeda Deposition, 123:20-
         124:6.
  34   Dennis Deposition, 25:7-14. Notably, Dennis was uncertain whether similar manipulation was conducted on products other
         than the Hawaiian Brand chips.
  35   See, 10/14/20 email from Dr. Dennis to Ms. Bishop (attached hereto as Exhibit J).
  36   See, 10/15/20 email chain between Dr. Dennis and Ms. Bishop (attached hereto as Exhibit K.).

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  C.          There is No Control in Dennis Survey
             37.        In addition to testing only the front of the Hawaiian chips package, Dr. Dennis

 also tests the front packaging or two other products in his survey – Utz and Kettle Brand.

 Dr. Dennis says the results from these products “corroborate” his finding that, “Defendant’s

 packaging is distinguished by its efficacy in communicating a message of a specific state where

 the kettle chips are made.”37 To inform this conclusion, Dr. Dennis indicates that 31.2 percent and

 30.9 percent of respondents, respectively, could not determine where the Utz and Kettle Brand

 chips were made, and less than 5.0 percent of respondents selected the correct states for these

 brands.38

             38.        It is not entirely clear why Dr. Dennis believes the comparison he has created is

 relevant in any way. His comparison groups are not characterized or used in his analysis as

 “controls.” A control group in a survey is particularly important by helping the researcher

 measure and determine the extent to which respondents are guessing, inattentive, or are

 influenced by the survey design or other aspects of the stimulus shown that are not at issue. The

 Utz and Kettle brand chips are not controls in Dr. Dennis’ survey.39 If anything, these results

 demonstrate that when provided with images of packaging fronts that include no reference to any

 place or location whatsoever, respondents will guess an origin from the list of provided states.

 This design does not “corroborate” anything other than the fact that Dr. Dennis has constructed a



  37   Dennis Report, ¶54.
  38   Dennis Report, ¶54.
  39   Even if Dr. Dennis were to try and reframe these other products as “controls,” they would be entirely insufficient. A flawed
         and unreliable control is no helpful, and “[i]n fact, courts may give little or no weight to surveys with improperly
         constructed control groups. A good control should match the tested advertisement as close as possible in every respect other
         than the aspect of the test stimulus that is alleged to contain the misinformation.” See Keller, B. P. (2012). Survey Evidence
         in False Advertising Cases. In Diamond, S. S., & Swann, J. B. (Eds.), Trademark and Deceptive Advertising Surveys: Law,
         Science, and Design. American Bar Association, Section of Intellectual Property Law, p. 185.

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 reading test which can effectively steer respondents to select Hawaii from a list of states when

 shown a package with the word “Hawaii.”

        39.      Dr. Dennis’ irrelevant comparison products do not function as controls and

 provide no data on the extent to which, given his biased design, respondents are likely to guess a

 location when presented with a label that has some geographic reference. Dr. Dennis could have

 easily selected from a wide array of food products that reference geographies and used any of

 these products as comparators. In fact, he could have selected another snack or chip product that

 referenced a location or area as a measure of the extent to which consumers were simply reading

 the label and were guessing or attempting to provide the researcher the desired response.

 Examples of products with geographic references in the brand or product name are shown below

 in Figure 6.




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                Figure 6: Examples of Products with Geographic / Place Names




        40.      Testing other products with labels that include a name of a place or geography

 could have provided an understanding of the extent to which respondents were simply guessing or

 were influenced by Dr. Dennis’ questionnaire design. Aside from using other products,

 Dr. Dennis also could have tested a different control with a separate, randomly selected group. In

 this way, the test group respondents would have viewed the actual product label, and the control


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 group would have seen an altered version of the Hawaiian packaging with changes to the label. I

 use this design in my rebuttal survey.

             41.       Given the extreme bias of Dr. Dennis’ questions, there is no way to determine

 what share of his respondents actually believe the product is made in Hawaii and what share are

 simply guessing or are responding to the poorly constructed questions and limited view of the

 stimulus.

         VII. DENNIS SURVEY DOES NOT DEMONSTRATE
              MATERIALITY
             42.       Dr. Dennis’ simplistic referendum-type question is also flawed and biased and

 provides no information as to the extent to which, if at all, consumers would view the place that

 the chips were made as a material factor in their purchasing decision. In fact, Dr. Dennis himself

 acknowledged that it is entirely possible that some consumers may not care about where a product

 is made when deciding whether or not to make a purchase. In his deposition, he explicitly agreed

 with the idea that “a majority of consumers” are likely not interested in where a product

 manufactured,40 a point which he reinforced on several occasions throughout the deposition.41 My

 own survey data show that manufacturing location is the least important feature of chips by

 purchasers of kettle-style chips.

             43.       By the very nature of its design, Dr. Dennis’ question can only demonstrate

 whether chips made in Hawaii, relative to the exact same chips made in Washington, are

 preferred. This question offers no insight as to the import (or lack thereof) of the origin of the chip

 relative to any other product features. Dr. Dennis does not ask respondents which factors


  40   Dennis Deposition, 140:9-22.
  41   Dennis Deposition, 52:23-54:3; Dennis Deposition, 138:3-11.

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 influence their chip purchases and does not ask consumers to evaluate which product features

 actually matter in selecting a snack product to purchase. Even a cursory examination of customer

 reviews and descriptions of the products demonstrates that consumers focus on things like taste,

 available flavors, saltiness, crispiness, spices, price, and how they are cooked.42 These reviews are

 confirmed by my data indicating that price, flavor, brand, and package size are the characteristics

 important to consumers.

             44.        The idea that many aspects of a product matter to consumers is supported by Dr.

 Dennis in his deposition, where he mentioned taste, price, and texture as important factors when

 buying potato chips (though, not once did he note the origin of the product as being of personal

 importance).43 This supports the notion that materiality should be a measure of the many factors

 that could influence purchasing behavior.44 By Dr. Dennis’ own admission, “there are any number

 of attributes that could drive choice to varying degrees.”45 Dr. Dennis’ referendum question, then,

 even if designed appropriately (which it was not), cannot demonstrate that “Hawaiian” was a

 material factor in any purchasing decision because there is no measure of any other factors which

 may have been far more important.

             45.        As with his question of where the chips are made, Dr. Dennis’ referendum

 question is biased. Referendum-type questions have faced substantial criticism in the survey

 literature as an approach which yields inflated estimates of the value attributable to the feature




  42   https://briteandbubbly.com/hawaiian-kettle-style-potato-chips-review/; https://thechipreview.com/review-hawaiian-sweet-chili-
          potato-chips/; https://www.influenster.com/reviews/hawaiian-sweet-maui-onion-potato-chips-18oz;
          https://hotsaucedaily.com/hawaiian-kettle-style-chips-mango-habanero-review/;
          https://www.youtube.com/watch?v=JaJ3u8fT7aY; https://www.youtube.com/watch?v=TVf-lWmJBAQ.
  43   Dennis Deposition, 55:2-18.
  44   Dennis Deposition, 73:8-17.
  45   Dennis Deposition, 153:2-10.

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 being evaluated.46 While in this case, Dr. Dennis does not include a price or monetary estimate of

 value, he is still relying on his results to opine that where the chips are made has some level of

 importance that is significant enough to claim it is material. Furthermore, while Dr. Dennis

 attempts to defend his use of the referendum survey question,47 the contingent valuation methods

 that Dr. Dennis cites as the basis for his design have “been at the center of a brooding controversy

 for many years.”48 In critique of the very report cited by Dr. Dennis, one economist noted that

 “[d]espite the impressive pedigree of the authors, the report is found to be generally lacking in

 logic and empirical foundation.”49

             46.         As described above, Dr. Dennis’ referendum question does not demonstrate that

 the origin of the chips is material, and unbiased, properly framed questions demonstrate this is not

 important to consumers. Dr. Dennis simply assumes that where the chip is made is relevant to all

 of his survey respondents (or more egregiously, only those who say the product is made in

 Hawaii) and then only asks them to compare two possible locations. The poor design choice

 selected by Dr. Dennis is further marred by a bias question which only allows respondents to

 indicate they prefer a product made in one location over the other. While respondents can indicate

 they “don’t know,” they cannot indicate that they would not be interested in purchasing either

 product, nor can they indicate that they are indifferent between the two. Again, Dr. Dennis

 assumes that origin has an impact and he simply needs to measure “how much.”




  46   Harrison, G. W. (2002). “Contingent Valuation Meets the Experts: A Critique of the NOAA Panel Report.” Environmental and
         Resource Economics (hereinafter, “Harrison”).
  47   Dennis Report, ¶50.
  48   Harrison, p. 1.
  49   Harrison, title page.

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             47.        Dr. Dennis’ referendum question is also biased due to context effects. The

 question asking whether one of two locations matters follows the question, which signals to

 respondents that “where” the chips were made is important. Further, the only respondents

 answering the question as to the importance of Hawaii versus Washington are those who selected

 Hawaii as the source from the drop-down list. Respondents who understood that the researcher

 was looking for a state and selected Hawaii were highly likely to understand that the “best”

 answer would be to select the chips made in Hawaii in the referendum question.

             48.        The influence of the prior question is evident in the data. When I examine

 respondents who said the product was made in a state other than Hawaii, less than half, or only

 41 percent, indicated that they would select the product made in Hawaii over the product made in

 Washington.50 While Dr. Dennis suggests that such patterns in the data indicate the “materiality”

 of the origin, they could just as easily indicate that due to context effects and a biased survey,

 respondents were attempting to provide consistent answers to what was asked for by the

 researcher.

         VIII. OTHER FLAWS IN DENNIS SURVEY
             49.        Aside from the biased questions throughout the survey and the fact that the survey

 does not actually measure any material impact of the labeling, there are additional problems with

 Dr. Dennis’ research.

             50.        While Dr. Dennis asserts he conducted cognitive interviews with eight

 respondents, he provides no record of these interviews, no script for what respondents were asked,



  50   This was calculated using Dr. Dennis’ data, by taking the 53 total respondents who 1.) believed that the product was made
         somewhere other than Hawaii, and who 2.) indicated that they would select the product made in Hawaii, and dividing this by
         the total 129 respondents who believed that the product was made somewhere other than Hawaii.

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 and no actual documentation as to who was recruited and what responses they provided.51 In

 contrast, I provide the moderator script and verbatim records of the pre-test interviews I

 conducted.52

             51.         Further, Dr. Dennis’ 42 “pre-test” interviews with respondents simply represent

 an initial set of data collection using his actual questionnaire. While Dr. Dennis may have been

 able to evaluate these initial data to determine if there were programming errors in the survey,

 there is no way these initial data could provide insight as to how consumers understood the

 questions, what they believed the goal of the exercise to be and how they interpreted the “where”

 and referendum questions, and whether there were other factors that would have been influential

 in their purchasing decision.

             52.         Dr. Dennis also heavily oversampled older respondents age 50 years and older.

 Dr. Dennis reports that 48.4 percent of the interviewees were aged 50 years or older;53 however,

 by my calculations, his population in this age demographic is actually much larger, at

 63.2 percent.54 My research sampled respondents much more appropriately, with only

 20.4 percent of respondents being 50 years or older.

         IX. REBUTTAL SURVEY METHODOLOGY

             53.         As indicated above, I conducted my own survey to determine the importance, if

 any, consumers place on manufacturing origin and the extent to which, if at all, consumer




  51   Dennis Deposition, 84:24-90:14.
  52   See Exhibits C and D, respectively, for the moderator script and transcripts of the pre-test interviews.
  53   Dennis Report, ¶58.
  54   See Exhibit F.

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 preference is materially impacted by the at-issue label. The survey I conducted provides an

 unbiased evaluation of the materiality, if any, associated with the product label.

             54.        The design of my research follows the generally accepted principles for the design

 of surveys to be used as evidence in litigation.55 In general, the design of a reliable survey

 requires careful attention to the following key areas:

                    The definition of the relevant population;

                    The procedures for sampling from the relevant population;

                    The survey questions used;

                    The stimuli used; and

                    The protocol for calculating the results from the survey.56

             55.        The discussion of the survey I conducted is organized around each of the key

 areas.

  A.          Survey Population
             56.        I understand that the putative class includes Californian or Hawaiian consumers

 18 years or older who purchased the Hawaiian kettle-style chips kettle chips during the class

 periods (October 12, 2012 to December 31, 2019 for the Hawaii class and October 12, 2015 to

 December 31, 2019 for the California class). To ensure that my population is the same population




  55   Diamond, S. S. (2011). “Reference Guide on Survey Research,” Reference Manual on Scientific Evidence, Committee on the
        Development of the Third Edition of the Reference Manual on Scientific Evidence; Federal Judicial Center; National
        Research Council, pp. 361-423. (hereinafter “Diamond”); Manual for Complex Litigation, Fourth Edition. Federal Judicial
        Center 2004, Section 11.493. (hereinafter “Manual for Complex Litigation, Fourth Edition”) p. 102.
  56   The Manual for Complex Litigation, Fourth Edition phrases these key areas as such (see p. 103):
        "• the population was properly chosen and defined;
        • the sample chosen was representative of that population;
        • the data gathered were accurately reported; and
        • the data were analyzed in accordance with accepted statistical principles."

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 that Dr. Dennis sampled,57 I screened to respondents who had purchased kettle-type potato chips

 in the past 24 months.

  B.          Sampling of the Relevant Population
             57.        Potential survey respondents were contacted using an Internet panel hosted by

 Veridata Insights.58 Veridata is a firm founded by well-respected survey professionals I have

 worked with many times in the past for litigation surveys. Veridata programmed the web-based

 survey instruments, hosted and collected the data. Survey invitations for my survey were sent to

 Veridata panel members in the respective states. Respondents who initiated the survey were first

 asked a series of screening questions to ensure that they qualified as part of the relevant

 population for my study.

             58.        To ensure that the survey I created was clear and represented realistic choices for

 respondents, I conducted and recorded a series of individual pre-test interviews. I recruited ten

 participants to complete the survey. Pre-test respondents completed the survey online via their

 own unique one-time use survey link on their own computer while on a video conference with the

 interviewer. After completing the survey, the interviewer asked the respondent a series of post-

 survey debrief questions. Unlike Dr. Dennis, I have provided the moderator script, and recorded

 transcripts from these interviews in Exhibit D. As demonstrated in these materials, I asked

 participants specific questions to determine whether the survey was clear, whether manufacturing

 location was described clearly, and whether the images presented were realistic. Participants

 confirmed that they understood manufacturing location, that the features were described clearly


  57   My survey included a question to determine whether respondents had, in the last 30 days participated in a survey related to
        snack foods. Anyone who indicated that they had recently completed such a survey was screened out and therefore, I have
        ensured that there is no overlap in respondents who took Dr. Dennis’ survey and the survey I conducted.
  58   For additional information about Veridata’s online surveys, see Veridata Insights Value Statement.

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 and that the product images presented were realistic. Once I confirmed there were no issues with

 the questionnaire as designed, I began fielding the full study.

            59.       Data for the survey, including the pre-test responses, were collected between

 January 25, 2021 and February 12, 2021. A total of 905 respondents qualified (based on the

 survey population parameters described below) and completed the survey. My final sample

 includes responses from 602 California residents and 303 Hawaii residents.

  C.         Quality Control Measures for the Survey
            60.       I had Veridata collect the data for the full survey. Veridata uses a variety of

 quality control measures to ensure the reliability and integrity of the responses it provides. For

 example, Veridata uses digital fingerprinting, proprietary software to identify duplicate

 respondents, internal and third-party data validation, and automated checks of inconsistent or

 illogical respondent behavior. These precautions are designed to prevent unqualified respondents

 from being included in the survey and were put into place in this survey.

            61.       To ensure that my data are of the highest quality, I implemented quality control

 measures in addition to those undertaken by Veridata:

                  a. As is standard survey practice for litigation, the surveys were conducted in a

                      "double-blind" fashion; that is, neither the staff at Veridata nor any of the

                      respondents were aware of the survey's sponsor or the ultimate intention of the

                      survey.59




  59   Diamond, pp. 410-411.

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                   b. Respondents had to correctly answer a CAPTCHA question to ensure that a

                        person, and not a computer or "bot," was taking the survey.60

                   c. Each respondent was required to enter their gender and age at the outset of the

                        survey, and if these data conflicted with the age/gender information on file with

                        Veridata, the respondent was excluded.

                   d. Respondents were required to take the survey on a laptop/desktop, tablet, or

                        mobile device to ensure that they would be able to easily see and review the chip

                        bags shown.

                   e. Any respondent who indicated that they had taken a survey on snack food

                        products in the last 30 days was disqualified from the survey. This ensures that

                        respondents in my survey were not somehow inadvertently affected by research

                        conducted in some other matter related to snacks.

                   f. The survey was tested, and the initial results were reviewed to ensure that there

                        were no errors in the programming and that respondents were able to understand

                        and answer the questions as asked.

  D.          Screening Questionnaire
             62.        To ensure that the respondents were part of the relevant population as defined

 above, a series of screening questions was asked.61 First, respondents were asked whether they

 had taken a survey on any of the following topics in the last 30 days: hair care products,

 toothpaste/oral care, sporting goods or outdoor gear, advertisements on TV, beverage products,



  60   Captcha uses advanced software to tell humans and bots apart. For a description of the technology, see
         http://www.captcha.net/, accessed February 11, 2021.
  61   The questionnaire can be found in Exhibit C.

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 snack food products, skin care products, vitamins/dietary supplements, clothing, websites visited,

 or video games. Any respondent who indicated that they had completed a survey on snack food

 products in the past 30 days was screened out.

        63.      As indicated above, the screener used includes the same set of questions Dr.

 Dennis included to ensure that the results are comparable. Potential respondents were asked to

 select from a list of snack foods which, if any, they had purchased in the past 24 months.

 Respondents were allowed to select from a list of the following: chips, cookies, crackers, nuts,

 trail and snack mixes, pretzels, popcorn, fruit snacks, dried fruit and raisins, granola and cereal

 bars, jerky and meat sticks, apple sauce and fruit cups, gelatin and pudding, salsa and dips, and

 snack cakes. Respondents could also indicate that they had not purchased any of these snacks at

 all. Respondents who did not indicate that they had purchased chips for personal consumption in

 the past 24 months were screened out.

        64.      As with Dr. Dennis’ survey, potential respondents in my survey were provided

 with a list of chip types and asked which, if any, they had purchased in the past 24 months. The

 question emphasized that this was a list of types of chips, not brands. For each of the listed chip

 types, respondents indicated “Yes” or “No” to having purchased the type(s) in the past 24 months:

 kettle potato chips, regular potato chips, potato chips stackable in tubes, puffed snacks, tortilla

 chips, and snack mixes. Respondents who had not purchased kettle potato chips in the past 24

 months were screened out.

        65.      Respondents were next ask to select from a list of chip brands which, if any, they

 had purchased in the past 24 months. Again, comparable to Dr. Dennis’ survey, the list included:

 Lay’s Kettle Cooked, Cape Code Kettle Cooked Potato Chips, Hawaiian Kettle Style, Kettle



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 Brand Potato Chips, Utz Kettle Classics, Wise Kettle, and Deep River. Respondents were allowed

 to proceed if at least one brand was selected “Yes.”

        66.      For each brand respondents had reported purchasing in the past 24 months,

 respondents were then asked when they had first started purchasing the brand. Response options

 included: less than 12 months ago, 12 months to 24 months ago, more than 24 months but less

 than 5 years ago, and 5 or more years ago.

        67.      For respondents who had reported purchasing more than one brand in the past 24

 months, they were then asked which of their selected brands they had purchased the most often in

 the past 24 months. Only the brands which had been previously been indicated as purchased were

 available for selection.

        68.      Respondents were then asked where they usually purchased their kettle-type

 potato chips in the past 24 months. Response options included: grocery stores, drug

 stores/pharmacies (like CVS, Walgreens), big-box retail stores (like Walmart, Target),

 convenience stores / gas stations, warehouse club stores (e.g., Costco, Sam’s), or somewhere else.

        69.      Finally, respondents were shown a screen that stated, “This survey asks

 consumers about KETTLE-TYPE POTATO CHIPS.” After proceeding to a new screen,

 respondents were asked, “Please confirm your understanding of this survey. What is this survey

 about?” Response options included: mixed snacks, kettle-type potato chips, corn chips, pretzels,

 popcorns, and don’t know. This question was asked to screen out respondents who might not be

 paying attention to the survey. Respondents who selected incorrectly were screened out.

        70.      Qualified respondents were then taken to the main portion of the questionnaire,

 where they completed the preference ranking (MaxDiff) exercise.



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  E.           Preference Ranking Exercise
             71.         The research I conducted stands in marked contrast to Dr. Dennis’ survey. Rather

 than ask biased questions, I designed a test to understand the importance consumers place (if any)

 on manufacturing location within the context of all of the other factors that might influence a

 purchase decision. Such an approach is appropriate of materiality because it allows me to evaluate

 the importance of manufacturing location in consumers’ purchasing decisions as compared with

 other factors that are known to be important purchase drivers for consumers when selecting

 chips.62

             72.         To measure the impact of the manufacturing location on consumers' preferences

 relative to the impact of other components of the kettle chips features making up the product as a

 whole (e.g. brand familiarity, new or familiar flavors, nutritional content, accommodation of

 dietary restrictions, etc.), I designed and implemented a choice-based survey known as a

 “Maximum Difference” (or “max-diff”) exercise.63 A max-diff survey is a well-known research

 methodology used to evaluate the relative importance of product features or attributes.64 Although

 there are different variations, broadly speaking max-diff studies involve asking respondents to

 review small subsets of features or attributes and indicate which feature is the most and least

 preferred of each subset. Respondents are presented with a series of such exercises, with the set of

 features varying each time, allowing the researcher to deduce a rank ordering of importance for all

 of the items in the survey.



  62   See, e.g., Exhibit L.
  63   See, e.g., Sawtooth Software, Inc. (2013) The MaxDiff System Technical Paper, Version 8.
         https://www.sawtoothsoftware.com/download/techpap/maxdifftech.pdf, accessed January 9, 2017.
  64   The approached was pioneered by Jordan Louviere. For a recent discussion, see Flynn, T. N. & Marley, A. A. (2014). “Best-
         Worst Scaling: Theory and Methods,” Handbook of Choice Modeling, pp. 1-29 at p. 4.

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             73.        Max-diff surveys are generally superior to other rank order approaches because

 the exercises are generally thought to be easy for respondents to complete and the method

 capitalizes on the natural, human tendency to evaluate features at the extremes. Such an approach

 also helps avoid answers from respondents who would indicate that all features shown are

 similarly important. Finally, this approach avoids the problem of having a respondent rank order a

 large list of features, which often yields little useful information about the attributes that fall in the

 middle (neither the most nor least important) range of the scale.

             74.        In this max-diff exercise, respondents were presented with a series of twelve

 questions called "tasks." In each task, respondents were presented with a randomly selected set of

 six features from the set of fourteen65 and asked to select their “most important” and “least

 important” option. This was designed following recommended settings in Sawtooth, such that

 each item would appear 3 to 5 times for each respondent.66

             75.        At the start of the max-diff exercise, respondents were presented with the

 following instruction:

              Now, we will ask you about KETTLE TYPE POTATO CHIPS. There are no right
              or wrong answers. We just want your honest opinions. In answering our survey
              questions, please consider only the product labels and descriptions we show you.

              Because we want you to take your time, you might need to wait a few seconds
              before going to the next screen or question.

             76.        In the following screen, respondents were instructed:

              In the next questions, you will be shown several sets of descriptors for KETTLE
              TYPE POTATO CHIPS products.



  65   As described in Exhibit L, the features included in the survey were primarily identified in a Mintel Group market report. Four
         other features (‘Package size,’ ‘Gluten free,’ ‘Manufacturing location,’ and ‘Kosher’) were also included.
  66   The suggested number of questions is based on the formula 3K/k to 5K/k, where K is the total number of items and k is the
         number of items shown per set. Sawtooth Software. Lighthouse Studio v9.9.2.

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         For each set, you will be asked to select the product description that is MOST
         important when considering KETTLE TYPE POTATO CHIPS products, and the
         product description that is LEAST important.


        77.      Figure 7 is an example of how a task would appear to the respondent. Further

 examples of how a task would appear to a respondent may be found in Exhibit E.



                         Figure 7: Example of One MaxDiff Choice Task




        78.      As noted above, the preference exercise was repeated twelve times, with twelve

 different, randomly selected sets of descriptors. After completing the preference exercise,

 respondents proceeded to the referendum exercise.




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  F.     Revised Referendum Exercise
        79.      As described above, there are numerous biases and limitations with a referendum

 type question, particularly the exercise as designed by Dr. Dennis. In particular, Dr. Dennis’

 referendum exercise is completely divorced from a realistic purchasing context, assumes the

 importance of manufacturing location, and has no control for the numerous biases that undermine

 his results. To address these concerns and demonstrate the unreliability of Dr. Dennis’ survey, I

 have modified his referendum exercise. Importantly, my referendum exercise allowed respondents

 to view both sides of the package, utilized a randomized experimental design, and included an

 additional product to ensure the purchasing question was more realistic. The revised exercise is

 described in detail below.

        80.      Prior to beginning the referendum exercise, respondents were randomly assigned

 to either a test or control condition. Respondents in the test condition were shown images of both

 the front and the back of the Hawaiian Kettle Style Potato Chips product label at issue. Thus,

 unlike Dr. Dennis’ survey, respondents could view all information about the product as they could

 if they were actually making a purchase.

        81.      Respondents in the control condition were assigned to view the same Hawaiian

 Kettle Style Potato Chips product label, but which had been altered to include an enlarged

 disclaimer stating, “NOT A PRODUCT OF HAWAII.”

        82.      Unlike Dr. Dennis’ survey, the test and control design I have used ensures that I

 can measure consumer preferences for the at-issue product relative to a product which clearly

 indicates it is not made in Hawaii, holding everything else constant. In other words, in my survey,

 I can directly measure the influence of the at-issue label because any and all of the other factors

 that might influence consumer preferences for the Hawaiian brand kettle chips are held constant
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 between the two groups. Moreover, using a control group also ensures that I hold constant any

 influence the survey design or questions may have on consumer preferences. Again, Dr. Dennis

 has no such control and cannot disentangle his measure of purported preference from a biased and

 leading survey design.

             83.        I also, unlike Dr. Dennis, included a different brand of chip in the referendum

 exercise to more closely mirror how consumers actually encounter products in the real world. In

 addition to the Hawaiian Kettle Style Potato Chips product (either test or control), all respondents

 were shown Kettle Brand chips.67 Prior to viewing the product packaging, respondents were

 instructed,

              In the next questions, we are going to show you the labels of two KETTLE TYPE
              POTATO CHIPS products.

              Please take your time and view each product just like you are in a store considering a
              purchase.

              You may click or tap to enlarge the images but will need to close out of the enlargement
              to answer the next questions.

  On a new screen, the instructions continued,

              Suppose you are going shopping for kettle-style chips at the place where you normally
              buy such products.

              We are going to show you two kettle-style chips – Chips A and Chips B – and ask you
              which of the two you would buy.

              It might take a few seconds before you will be able to see the next screen.


             84.        Respondents were then shown an image of either (A) Hawaiian Kettle Style

 Potato Chips product (either test or control) or (B) Kettle Brand Chips. The order of the product

 appearing as Chips A versus Chips B was randomly rotated. As noted above, respondents were


  67   Dr. Dennis included this brand as a relevant comparator in his survey when asking about manufacturing location.

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 shown the front and back of the product package as this more closely replicates market

 conditions. In addition, respondents were instructed that they could click to enlarge the images to

 view any aspect of the label more closely. This functionality was not a part of Dr. Dennis’ survey.

 After displaying each image, there was a ten-second delay before the respondent was able to

 continue to the next screen. Figures 8-10 are examples of how the product labels would appear to

 a respondent. Further examples may be found in Exhibit E.



                              Figure 8: Screenshot of Stimulus - Test




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                      Figure 9: Screenshot of Stimulus - Control




                      Figure 10: Screenshot of Kettle Chip Image




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             85.        After viewing the test or control stimuli and the Kettle Brand chips, respondents

 were directed to a new screen and asked which chips they would purchase. The question screen

 included a table containing images of the front of the chip bags, as well as information on product

 size and price. As with Dr. Dennis’ survey, the chips were shown as the same size bag (8 oz.) and

 were described as having the same price.68

              86.       Again, respondents could click the chip bag images to enlarge, which would allow

  them to view both the front and the back of the bags. Unlike Dr. Dennis, I also allowed

  respondents to indicate that they would not purchase either of the products shown. Figures 11

  and 12 provide examples of how the referendum question could appear to a respondent. Further

  examples may be found in Exhibit E.




  68   The price was held constant across these products to mimic Dr. Dennis’ survey. I am not asserting that these products are
         always priced equivalently in the real world.

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                  Figure 11: Screenshot of Referendum Exercise – Test




                Figure 12: Screenshot of Referendum Exercise – Control




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             87.        Respondents who selected “Would not purchase either product” or “Don’t Know”

 completed the survey and were thanked for their time. Respondents who indicated that they would

 purchase one of the chip options were directed to a screen showing their selection and asked to

 confirm whether this was the bag they would purchase. Respondents either confirmed yes or no

 and completed the survey. After answering this question, respondents completed the survey and

 were thanked for their time.69 Figure 13 provides an example of how this question could appear to

 a respondent. Further examples may be found in Exhibit E.



                                  Figure 13: Screenshot of Confirmation Question




  69   Of the 905 respondents who qualified for the survey, 5 did not confirm their responses. Of the 863 respondents who answered
         the Dennis Survey’s referendum question, 4 did not confirm their responses. See Dennis Report, Attachment G.

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     X.         REBUTTAL RESULTS
         88.            A total of 905 respondents qualified and completed the survey, including 602

 from California and 303 from Hawaii. I used the same screening questions as Dr. Dennis used for

 his survey, although my survey, unlike his, has a much more balanced age distribution. As noted

 above, 63.2 percent of Dr. Dennis’ survey respondents were 50 years or older. I have seen no data

 and Dr. Dennis does not provide any data suggesting that the majority of kettle-style potato chip

 purchasers are 50 years or older. As shown below, 20.4 percent of my survey respondents are 50

 years or older.

         Table 1: Age and Gender Comparison Between Rebuttal Survey and Dennis Survey


                        Age by Gender - Rebuttal Survey                                           Age by Gender - Dennis Survey

                                    Male                     Female                                          Male                     Female
        Age Group           Count      Percent       Count       Percent        Age Group            Count      Percent       Count       Percent
    18-29                     86         27.8%        257           43.1%   18-29                      16          4.4%         58           11.6%
    30-39                     74         23.9%        138           23.2%   30-39                      44         12.1%         81           16.2%
    40-49                     72         23.3%         93           15.6%   40-49                      58         16.0%         61           12.2%
    50+                       77         24.9%        108           18.1%   50+                       245         67.5%        300           60.0%
    Total Respondents        309        100.0%        596         100.0%    Total Respondents         363        100.0%        500         100.0%

    Source: NERA Survey Data                                                Source: Dennis Data




         89.            I can also compare the brands of chips purchased by my survey respondents with

 the brands purchased by Dr. Dennis’ respondents. As shown below, the distribution of brands of

 chips purchased between my population and Dr. Dennis’ population is essentially equivalent.

 Importantly, my survey respondents were just as likely as Dr. Dennis’ respondents to have ever

 purchased the Hawaiian brand kettle-style chips (53.3 percent compared to 51.2). My survey

 respondents were in fact slightly more likely to be frequent purchasers of the Hawaiian brand –

 16.4 percent of my respondents indicated that Hawaiian Kettle Style chips were the brand

 purchased most frequently compared to 14.5 percent of the respondents in Dr. Dennis’ survey.

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        Table 2: Brands Purchased Comparison Between Rebuttal Survey and Dennis Survey


       Brands of Kettle Potato Chips Purchased in the Past 24 Months             Brands of Kettle Potato Chips Purchased in the Past 24 Months
                              Rebuttal Survey                                                            Dennis Survey

                 Kettle Chip Brand                   Count         Percent                    Kettle Chip Brand                    Count         Percent
         Lay's Kettle Cooked                          635            70.2%            Lay's Kettle Cooked                           618            71.6%
         Cape Cod Kettle Cooked Potato Chips          406            44.9%            Cape Cod Kettle Cooked Potato Chips           462            53.5%
         Hawaiian Kettle Style                        482            53.3%            Hawaiian Kettle Style                         442            51.2%
         Kettle Brand Potato Chips                    730            80.7%            Kettle Brand Potato Chips                     687            79.6%
         Utz Kettle Classics                           94            10.4%            Utz Kettle Classics                            86            10.0%
         Wise Kettle                                   65             7.2%            Wise Kettle                                    80             9.3%
         Deep River                                    62             6.9%            Deep River                                     52             6.0%
         Total Respondents                            905          100.0%             Total Respondents                             863          100.0%

         Source: NERA Survey Data                                                     Source: Dennis Data

  Note: Percent does not sum to 100 because respondents could select multiple   Note: Percent does not sum to 100 because respondents could select multiple
        answers.                                                                      answers.




  A.          Preference Ranking Exercise
             90.         Broadly speaking, a max-diff analysis compares the number of times respondents

 select a given descriptor as “most important” and “least important” in when considering

 kettle-style chips. To evaluate the importance of the different characteristics tested, I utilized a

 Hierarchical Bayesian (HB) analysis to determine the rank order of the fourteen descriptions

 tested. An HB analysis essentially allows the researcher to account for individual level

 preferences and responses and take these into account when formulating an overall estimate. This

 is a standard method to compute results from max-diff surveys.70

             91.         As shown below in Table 3, respondents view price, flavor, brand, and package

 size as important characteristics. More than half of all survey respondents selected one of these

 items as “most important” in at least one of their preference sets. In stark contrast, and contrary to

 Dr. Dennis’ survey results, 669 of 905 (74 percent) of respondents identified manufacturing


  70   Qualtrics, “MaxDiff Analysis White Paper” https://www.qualtrics.com/support/conjoint-project/getting-started-
         conjoints/getting-started-maxdiff/maxdiff-analysis-white-paper, accessed February 18, 2021.

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 location as the least important product attribute in even a single one of their preference sets,

 placing it last of the 14 attributes ranked.



                           Table 3: Importance of Purchase Considerations


                                            Most Important             Least Important
                     Descriptor            Count       Percent        Count        Percent
                         (a)                    (b)      (c)            (d)          (e)
                                                       (b) / N                     (d) / N

               Affordable price             713          78.8 %        112           12.4 %
               Familiar flavor              602          66.5          171           18.9
               Familiar brand               572          63.2          173           19.1
               Package size                 484          53.5          252           27.8
               All natural                  422          46.6          156           17.2
               New flavor                   367          40.6          282           31.2
               Organic                      287          31.7          349           38.6
               Low or no salt               248          27.4          319           35.2
               Low calorie                  243          26.9          363           40.1
               Low or no fat                236          26.1          419           46.3
               Non-GMO                      193          21.3          418           46.2
               Gluten free                  100          11.0          636           70.3
               Manufacturing location        79           8.7          669           73.9
               Kosher                        55           6.1          663           73.3


               Total Respondents                905                     905

               Source: NERA Survey Data


         92.       Using HB analysis to account for individual preferences, I can rank order the

 characteristics in terms of their relative importance. As with the count analysis presented above,

 price, flavor, brand and package size are the most important. Manufacturing location is again at


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 the bottom only deemed least important along with “Kosher.” The preference scores and

 corresponding ranks are shown in Table 4 below.



                            Table 4: Preference Scores and Rank Order

                                                           95% Confidence Interval
                      Descriptor            Average           Lower           Upper
                          (a)                  (b)              (c)             (d)

                Affordable price              16.34           15.87           16.81
                Familiar flavor               13.33           12.84           13.82
                Familiar brand                12.63           12.15           13.12
                Package size                  10.39            9.90           10.88
                All natural                   9.48            9.01             9.95
                New flavor                     7.88            7.44           8.31
                Organic                       6.08            5.60            6.56
                Low or no salt                5.30            4.92            5.67
                Low calorie                   5.00            4.62             5.38
                Non-GMO                       4.45            4.04            4.87
                Low or no fat                 4.38            4.02            4.74
                Gluten free                    2.21            1.90            2.52
                Manufacturing location         1.46            1.24            1.69
                Kosher                         1.08            0.93           1.22


                Total Respondents                905
                Root Likelihood                0.491

                Sources: NERA Survey Data; Exhibit I



        93.      The results of the max-diff exercise demonstrate that manufacturing location is

 viewed as an unimportant feature by the vast majority of kettle-style chip purchasers. 74 percent

 of respondents view it as the least important product attribute and less than ten percent of


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 respondents ever indicate that manufacturing location is important. Overall, geographic location

 falls to the bottom-most of a rank ordered list of fourteen other characteristics consumers take into

 account when considering which kettle-style chip to purchase.

  B.          Revised Referendum Exercise
             94.        The preference exercise establishes unequivocally that consumers do not view

 manufacturing location to be an important characteristic. To determine whether the specific

 at-issue label has any impact on consumer purchases, I analyze the results from my revised

 referendum exercise.

             95.        As described above, I have corrected many of the flaws in Dr. Dennis’

 referendum exercise and can use these results to appropriately estimate the extent to which the

 product packaging relative to packaging which clearly states the product is not made in Hawaii

 would have an impact on consumer purchases.

             96.        As shown in Table 5 below, there is no difference in purchasing intent between

 those shown the at-issue label and those shown a label which states “Not a Product of Hawaii” on

 the front of the package. A total of 40.5 percent of respondents shown the packaging Plaintiffs

 allege is misleading indicate this is their preferred product compared to 41.3 percent of

 respondents shown the package clearly indicating the product is not made in Hawaii. The net

 difference of -0.8 percent is not statistically significantly different.71 These results demonstrate

 that whatever features of the chips affect consumers’ interest in purchasing, it is not a belief that

 the product is made in Hawaii.




  71   Given that 184 of 458 test respondents and 183 of 447 control respondents selected that they would purchase Hawaiian Brand
         chips, the t-statistic for this proportion difference is approximately -0.2341, which is not statistically significant.

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                                        Table 5: Chip Purchase Intent

                                        Test Condition          Control Condition
                                      (Original Package)      (Enlarged Disclaimer)     Net Difference   t-test
              Selection               Count      Percent      Count        Percent         Percent       Value
                 (a)                   (b)          (c)        (d)            (e)             (f)         (g)
                                                (b) / Σ (b)               (d) / Σ (d)      (c) - (e)

  Product A (Hawaiian Brand)          184          40.2 %      183           40.9 %          -0.8 %      -0.2341
  Product B (Kettle Brand)            263          57.4        247           55.3             2.2         0.6564
  Would not purchase either product   10            2.2         9             2.0             0.2
  Don't know                           1            0.2         8             1.8            -1.6
  Total                               458         100.0 %      447          100.0 %

  Source: NERA Survey Data


      XI. CONCLUSIONS
          97.          Dr. Dennis’ survey is completely divorced from a realistic purchasing context,

 assumes the importance of manufacturing location, and has no control for the numerous biases

 that undermine his results. His biased survey offers no insight as to the importance (or lack

 thereof) of the origin of the chip relative to any other product features. Dr. Dennis does not ask

 respondents which factors influence their chip purchases and does not ask consumers to evaluate

 which product features actually matter in selecting a snack product to purchase.

          98.          I have corrected many of the flaws in Dr. Dennis’ survey and can use these results

 to appropriately estimate the extent to which the product packaging relative to packaging which

 clearly states the product is not made in Hawaii would have an impact on consumer purchases.

 The research I conducted stands in marked contrast to Dr. Dennis’ survey. I find there is no

 difference in purchasing intent between those shown the at-issue label and those shown a label

 which states “Not a Product of Hawaii” on the front of the package. A total of 40.2 percent of

 respondents shown the packaging Plaintiffs allege is misleading indicate this is their preferred

 product compared to 40.9 percent of respondents shown the package clearly indicating the

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 product is not made in Hawaii. The net difference of -0.8 percent is not statistically significantly

 different. These results demonstrate that whatever features of the chips affect consumers’ interest

 in purchasing, it is not a belief that the product is made in Hawaii.

         99.      Further, rather than ask biased questions, I designed a test to understand the

 importance consumers place (if any) on manufacturing location within the context of all of the

 other factors that might influence a purchase decision. My results show respondents view price,

 flavor, brand, and package size as important characteristics. More than half of all survey

 respondents selected one of these items as “most important” in at least one of their preference

 sets. In stark contrast, and contrary to Dr. Dennis’ survey results, 669 of 905 (74 percent) of

 respondents identified manufacturing location as the least important product attribute in even a

 single one of their preference sets, placing it last of the 14 attributes ranked.

         100.     My opinions and conclusions as expressed in this report are to a reasonable

 degree of professional and scientific certainty. I may conduct additional analyses and offer

 additional tables or conclusions at trial based on information made available to me. My

 conclusions have been reached through the proper application of survey methods, and using

 standard methodologies relied upon by experts in the field of survey and market and consumer

 research. My opinions will continue to be informed by any additional material that becomes

 available to me. I reserve the right to update and or supplement my opinions if Plaintiffs provides

 additional information. I declare under penalty of perjury that the foregoing is true and correct to

 the best of my knowledge and belief. Dated February 19, 2021.



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                                                                   Sarah Butler, Managing Director

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